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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                      AUGUSTA DIVISION



IN RE:                                  Case Nos.   CRI21-048, USA    v. Sias
                                                    CR120-014, USA    V. Gunn et al
LEAVE OF ABSENCE REQUEST                            CR121-024, USA    v. Synenberg
                                                    CR121-040, USA    V. Calihua
TARA M. LYONS                                       CR121-074.USA V. Gamble
ApriU, 2022-April 8,2022
June 13, 2022-June 17, 2022




                                           ORDER


        Tara M. Lyons having made application to the Court for a leave of absence, and it being

evident from the application that the provisions of Local Rule 83.9 have been complied with, and

no objections having been received;

        IT IS HEREBY ORDERED THAT Tara M. Lyons be granted leave of absence for the

following period April 4, 2022 through April 8, 2022 and .June 13, 2022 through June 17,

2022.


        This      day of March, 2022.




                                            J. RANTT^ HALL/CHIEF JUDGE
                                           ^ITEMTATES DISTRICT COURT
                                            SDtrrffiRN DISTRICT OF GEORGIA
